Case 1:16-cv-02432-LI\/||\/| Document 21 Filed 10/31/16 Page 1 of 18

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
BARRY HONIG, an individual, ) CASE NO. l:l6-cv-02432-CAP
Plaintiff, §
)
v.
)
CHRIsToPHER DRosE, d/b/a )
“Bleecker Street Research” and )
DoEs 1-10 §
Defendants. )
)
)

 

JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

 

Plaintiff Barry Honig (“Plaintifi”) and Defendant Christopher Drose, d/b/a
Bleecker Street Research (“Defendant”) collectively submit this Joint Preliininary
Report and Discovery Plan. Where the parties could not agree on stipulated
language for a particular section, the response of each party is identified separately
and included Within each area of information

1. Description of Case:

(a) Describe briefly the nature of this action.

Plaintiff:

\NEST\274166658.1

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 2 of 18

This is an action for libel, interference vvith prospective economic advantage
and negligence arising from the publication of an article about Plaintiff Which Was
authored and Widely disseminated by Defendant and other persons Whose identities
have not yet been ascertained by Plaintiff through discovery

Defendant:

Defendant Drose disputes the allegations of Plaintiff, including for example,
the allegations that he took any action for economic advantage and that he authored
the article. Defendant also disputes the implication that he has not identified the
individual Who did author the article.

(b) Summarize, in the space provided below, the facts of this case. The
summary should not be argumentative nor recite evidence.

Plaintiff:

On or before June 20, 2016, Defendant drafted an article in cooperation
With other as yet unidentified conspirators, entitled “Pershz`ng Gola' and
ChromczDex Exposed.' These Barry Hom`g Names Could Fczll 70-80% (Or More).”
(hereinafter the “Article”). The Article concerned Plaintiff and his involvement
vvith public companies ChromaDeX, lnc. (“ChromaDeX”) and Pershing Gold
Corporation (“Pershing Gold”). Defendant submitted the Article to the Seekz'ng

A/pha Website for publication On June 20, 2016, Seekz'ng Alpha posted the Article

WliS‘l`\274166()58.l 2

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 3 of 18

on its site, listing the author as “Bleecker Street Research,” Defendant’s

pseudonym.

Plaintiff contends that prior to publication of the Article, Defendant and
others With Whom Defendant conspired transacted short sales of the publicly traded
securities of ChromaDeX and Pershing Gold. Plaintiff contends that Defendant and
his conspirators intended to publish a false, negative article about Plaintiff for the
purpose of driving down the market price of ChomaDeX and Pershing Gold stock,
so that they could then cover their short sales and reap illicit profits ln fact, the
Article expressly states that its author holds short positions in ChomaDeX and

Pershing Gold stock.

Plaintiff contends that the Article contained negative, false and defamatory
statements regarding Plaintiff and his involvement With ChromaDeX and Pershing
Gold, Which Were designed to drive down the market price of those stocks. On the
day that the Article vvas published, the market price of ChromaDeX stock
immediately dropped over 50%, destroying over $lOO million of shareholder value.
Plaintiff is informed and believes that shortly after the Article Was published, the

Defendants covered their short positions and profited thereby.

WEST\zmceesai 3

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 4 of 18

Nine days after the Article Was published, Defendant Drose publicly
admitted that statements in the article “Were not supported,” that readers should
“not rely” on “certain aspects of the article and statements of the author therein,”

and he caused Seeking Alpha to remove the Article in its entirety from its Website.

Plaintiff contends that the actions of the named and unnamed defendants
caused him significant financial damages and harm to his reputation

Defendant:

The Plaintiff is a Well-known public figure in the investment sector of small
cap stock promotion and is the subject of, or mentioned in, numerous articles
published on-line and in print about that financial sector. Defendant is a recent
college graduate Who is currently employed as an analyst by a hedge fund. He has
been conducting independent research and publishing articles providing his
analysis focusing on small cap stocks since his freshman year in college. Some of
these articles Were published under his name and others Were published under the
name “Bleecker Street Research. All of his articles Were carefully researched and
documented, helping him earn the honor of being named one of the c‘Thirty Under
Thirty” in the financial industry by Forbes l\/lagazine.

In mid-June 2016, he received a proposed article from an acquaintance

regarding two small cap stocks, ChromaDeX and Pershing Gold. After reviewing

WEs’r\zM\Gee§s.i 4

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 5 of 18

and verifying the supporting research and editing the proposed article he agreed
with his acquaintance to submit the proposed article for publication on the
“Seeking Alpha” website under the name Bleecker Street Research. The Article
was entitled “Pershz'ng Gold and ChromczDex Exposed: These Barry Honz`g Names
Could Fa/I 70-80% (Or More).”and was published on the “Seeking Alpha” website
on or about June 2(), 20l6. Like earlier articles submitted by Defendant for
publication, the article was well researched and documented and Defendant
believed then and continues to believe, in good faith, that that the article was
substantially accurate and true.

On or about June 28, 2016, Defendant received a letter from Charles J.
Harder of the law firm of Harder l\/Iirell & Abrams LLP. l\/Ir. Harder threatened to
bring a lawsuit against Defendant unless he “remov[ed] the [article] entirely ...and
publish[ed] a full, fair and conspicuous retraction, correction and apology”. On
June 29, l\/Ir. Harder followed up his demand that the article be removed from the
Seeking Alpha website with a demand that an apology be posted on the website
and suggesting specific language for the apology. He also demanded that the
Defendant request that the “editors send out alerts to all Seeking Alpha followers
of Pershing Gold, ChromaDeX, Barry Honig, and all of its PRO subscribers” about

the retraction of the article.

wi;s'r\274166658.1 5

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 6 of 18

In order to avoid litigation and without consulting an attorney, the Defendant
did all of the things requested by l\/Ir. Harder, including posting an apology in
substantially the language required by l\/lr. Harder. Defendant’s retraction and
apology for the article was not a bona fide admission against interest, but was a
good faith effort to compromise and settle his dispute with Plaintiff and avoid this
litigation Despite Defendant’s good faith efforts, this lawsuit was brought by
Plaintiff and Plaintiffs counsel is now attempting to take advantage of Defendant’s
efforts to avoid litigation as an admission against interest by Defendant

(c) The legal issues to be tried are as follows:

Though not intended as an exhaustive list of the myriad legal issues this case

presents, Plaintiff states the principal legal issues to be tried include:

Plaintiff:

l. Whether Defendant (and other as yet unnamed conspirators) wrongfully
published false and defamatory statements about Plaintiff, with the
intent to disparage and harm Plaintiff, so that they could profit from a

decrease in the value of Pershing Gold and ChromaDeX stock.

wi:s'i`\274166658.1 6

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 7 of 18

2. Whether Defendant (and other as yet unnamed conspirators) wrongfully,
knowingly and intentionally acted to interfere with and destroy or
harm Plaintiffs existing and/or prospective business relationships

3. Whether Defendant committed negligence in connection with his
publishing, and later retraction, of the June 20, 2016 article.

4. Whether Plaintiff is entitled to damages and attorneys’ fees.

Defendant:

l. Whether Plaintiff is a public figure in the small cap stock sector of
investments

2. Whether any of the statements in the Article were false or defamatoiy.

3. lf so, whether Defendant published the Article in the good faith belief
that the Article was substantially accurate and true.

4. Whether Defendant profited or sought to profit from the Article.

5. Whether Defendant conspired with anyone to engage in any of the
wrongful activity alleged

6. Whether this action against Defendant is barred by the Georgia anti-

SLAPP statute.

wEsT\274166658.1 7

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 8 of 18

7. Whether Defendant is entitled to attorney’s fees under the Georgia anti-
SLAPP statute.

8. Whether this action is barred by Settlement.

9. Whether Plaintiff is barred from bringing this action against Defendant

by reason of any affirmative defenses of Defendant

(d) The cases listed below (include both Style and action number) are:

(1) Pending Related Cases: None .

(2) Previously Adjudicated Related Cases: None.

2. This case is complex because it possesses one (l) or more of the features listed
below (please check):

_____ (l) Unusually large number of parties
(2) Unusually large number of claims or defenses
(3) F actual issues are exceptionally complex
(4) Greater than normal volume of evidence

(5) Extended discovery period is needed

(7) Pending parallel investigations or action by government

_>_<__

l_

X (6) Problems locating or preserving evidence
X (8) l\/lultiple use of experts

(9) Need for discovery outside United States boundaries
(lO) Existence of highly technical issues and proof

wi:s'r\z74166658.\ 8

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 9 of 18

3. Counsel:

The following individually-named attorneys are hereby designated as lead
counsel for the parties:

For Plaintiff Barrv Honig:

Robert D. Weber

Perrie l\/l. Weiner

DLA PIPER LLP (US)

2000 Avenue of the Stars
Suite 400 North Tower

Los Angeles, CA 90067-4704
(310) 595-3000

(310) 595-3300 (Fax)

Christopher Campbell

One Atlantic Center

1201 West Peachtree Street, Suite 2800
Atlanta, Georgia 30309-3450

(404) 736-7800

(404) 682-7800 (Fax)

Charles J. Harder

HARDER MIRELL & ABRAMS LLP
132 S. Rodeo Dr. Suite 301

Beverly Hills, CA 90212

(424) 203-1600

For Defendant Christopher Drose:

.lerry L. Sims

DAVIS GILLETT MOTTERN & SIl\/IS LLC
Promenade ll, Suite 2445

1230 Peachtree Street, NE

Atlanta, Georgia 303 09

w'iis'i‘\27416<>658.i 9

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 10 of 18

(770) 481-7207

4. Jurisdiction:
Is there any question regarding this court's jurisdiction?

Yes X No

 

If "yes," please attach a statement, not to exceed one (1) page,
explaining the jurisdictional objection When there are multiple claims, identify
and discuss separately the claim(s) on which the objection is based. Each
objection should be supported by authority.

5. Parties to This Action:

 

(a) The following persons are necessary parties who have not been joined:
Plaintiff:

Plaintiff is informed and believes and based thereupon alleges in his
complaint that as yet undiscovered third parties conspired with Defendant
Drose to commit the wrongful actions alleged in the Complaint. Plaintiff is in
the process of conducting discovery designed to reveal the identities of those
third parties, and will seek to join those parties to this action once their

identities are learned.Defendant:

As to Plaintiff s statement in this paragraph and in paragraph 6(a) below,

Defendant has provided Plaintiff with the name of the author of the Article.

wizs'r\zv<neesss.i 10

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 11 of 18

(b) The following persons are improperly joined as parties:
None.

(c) The names of the following parties are either inaccurately stated or
necessary portions of their names are omitted:

None.

(d) The parties shall have a continuing duty to inform the court of any
contentions regarding unnamed parties necessary to this action or any
contentions regarding misjoinder of parties or errors in the statement of a
party's name.

6. Amendments to the Pleadings:

Amended and supplemental pleadings must be filed in accordance with
the time limitations and other provisions of Fed.R.Civ.P. 15. Further instructions
regarding amendments are contained in LR 15.

(a) List separately any amendments to the pleadings which the parties
anticipate will be necessary:

Plaintiff:

Plaintiff is informed and believes and based thereupon alleges in his
complaint that as yet undiscovered third parties conspired with Defendant
Drose to commit the wrongful actions alleged in the Complaint. Plaintiff is in
the process of conducting discovery designed to reveal the identities of those
third parties, and will seek to amend his complaint to name those parties as
additional defendants once their identities are learned

Wi:s'r\zmier>esai l l

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 12 of 18

Defendant:

Defendant anticipates filing one additional Amended and Restated
Answer to Plaintiff’ s complaint and may need to file other supplemental or

amended answers as Plaintiff amends his complaint

(b) Amendments to the pleadings submitted LATER THAN THIRTY (30)
DAYS after the Joint Preliminary Report and Discovery Plan is filed, or should
have been filed, will not be accepted for filing, unless otherwise permitted by
law.

7. Filing Times for l\/Iotions:

 

All motions should be filed as soon as possible. The local rules set
specific filing limits for some motions. These times are restated below.

All other motions must be filed WITHIN THIRTY (30) DAYS after the
beginning of discovery, unless the filing party has obtained prior permission
of the Court to file later. Local Rule 7.1A(2).

(a) Motions to Compel: before the close of discovery or within the
extension period allowed in some instances. Local Rule 37.1.

(b) Summary Judgment Motions: within thirty (30) days after the
close of discovery, unless otherwise permitted by court order. Local Rule 56.1.

(c) Otlzer Limited Motions: Refer to Local Rules 7 .2A, 7.2B, and 7 .ZE,
respectively, regarding filing limitations for motions pending on removal,
emergency motions, and motions for reconsideration

(d) Motions Objecting to Expert Testimony: Daubert motions with

regard to expert testimony no later than the date that the proposed pretrial
order is submitted. Refer to Local Rule 7.2F.

wast\zmecess.l 12

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 13 of 18

8. Initial Disclosures:

The parties are required to serve initial disclosures in accordance with
Fed.R.Civ.P. 26. If any party objects that initial disclosures are not appropriate,
state the party and basis for the party’s objection.

Defendant has essentially complied with the initial disclosures in its
responses to Plaintiff’s emergency discovery except to the extent that the
production of some documents was objected to in writing as not discoverable
under Georgia’s anti~SLAPP statute and related case law. Plaintiff agrees to
provide its initial disclosure within 20 days and Plaintiff agrees to supplement its
initial disclosures within the same time period to the extent appropriate

9. Request for Scheduling Conference:

Does any party request a scheduling conference with the Court? If so,
please state the issues which could be addressed and the position of each party.

None at this time

10. Discovery Period:

The discovery period commences thirty (30) days after the appearance of
the first defendant by answer to the complaint As stated in LR 26.2A, responses
to initiated discovery must be completed before expiration of the assigned
discovery period.

Cases in this court are assigned to one of the following three (3) discovery
tracks: (a) zero (0)-months discovery period, (b) four (4)~months discovery
period, and (c) eight (8)-months discovery period. A chart showing the assignment
of cases to a discovery track by filing category is contained in Appendix F. The
track to which a particular case is assigned is also stamped on the complaint and
service copies of the complaint at the time of filing.

Please state below the subjects on which discovery may be needed:

W[§S'l`\274166658.l 13

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 14 of 18

Plaintiff proposes to take discovery regarding all of the claims at issue in this
lawsuit Defendant may file a motion under Georgia’s anti-SLAPP statute that

Defendant contends would stay discovery

If the parties anticipate that additional time beyond that allowed by the
assigned discovery track will be needed to complete discovery or that discovery
should be conducted in phases or be limited to or focused upon particular issues,
please state those reasons in detail below:

Plaintiff requests an eight-month discovery track given his belief that there are
as yet unascertained conspirators, and additional time will be required to discover
their identities Plaintiff already has propounded certain discovery upon Defendant
Drose, to which Defendant Drose has responded Plaintiff intends to issue subpoenas
to a number of broker-dealers through which large short sales were transacted shortly
before the article was published, in an effort to identify the identities of persons who

conspired with Defendant

11. Discovery Limitation:

What changes should be made in the limitations on discovery imposed under
the Federal Rules of Civil Procedure or Local Rules of this Court, and what
other limitations should be imposed.

The parties do not request any such changes at this time.

12. Other Orders:

What other orders do the parties think that the Court should enter under
Rule 26(c) or under Rule 16(b) and (c)?

weston 1 6665341 14

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 15 of 18

None at this time.

13. Settlement Potential:

(a) Lead counsel for the parties certify by their signatures below that
the parties’ counsel conducted a Rule 26(f) conference that was held on October
30 , 2016, but there were no settlement discussions

For Plaintiff Barry Honig:

Lead counsel (signature): s/ Robert D. Weber
F or Defendant Christopher Drose:

Lead counsel (signature): s/ Jeny L. Sims

(b) All parties were promptly informed of all offers of settlement and
following discussion by all counsel, it appears that there is now:

(__) A possibility of settlement before discovery.

(__X__) A possibility of settlement after discovery.

(__) A possibility of settlement, but a conference with the judge is
needed

(__*) No possibility of settlement

(c) Counsel ( x ) do or t ) do not intend to hold additional
settlement conferences among themselves prior to the close of diseovery. The
proposed date of the next settlement conference has not been scheduled at this

time.

(d) The following specific problems have created a hindrance to
settlement of this case:

Plaintiff contends that at this early stage of discovery, prior to identification

of the full universe of conspirators, the matter is not yet ripe for settlement

wEsT\274166653_1 15

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 16 of 18

Defendant contends that no conspirators are known to him.

14. Trial by Magistrate Judge:

 

Note: Trial before a Magistrate Judge will be by jury trial if a party is
otherwise entitled to a jury trial.

(a) The parties(____ ) do consent to having this case tried before a
magistrate judge of this court. A completed Consent to Jurisdiction by a United
States Magistrate Judge form has been submitted to the clerk of court this
day of 20

 

(b) The parties ( x ) do not consent to having this case tried before a
magistrate judge of this court.

Dated: October 31, 2016 DLA PIPER LLP (US)

s/Robert D. Weber

 

Robert D. Weber (admitted pro hac vice)
Perrie l\/l. Weiner (admitted pro hac vice)
DLA PIPER LLP (US)

2000 Avenue of the Stars

Suite 400 North Tower

Los Angeles, CA 90067-4704

(310) 595-3000

(310) 595-3300 (Fax)

Christopher Campbell

Georgia Bar No. 789533

One Atlantic Center

1201 West Peachtree Street, Suite 2800
Atlanta, Georgia 30309-3450

(404) 736-7800

Wr.sr\zmleecss.l 16

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 17 of 18

wi~:sr\274\66658.1 17

(404) 632-7800 (Fax)

Charles J. Harder (admitted pro hac vice)
HARDER MIRELL & ABRAMS LLP
132 S. Rodeo Dr. Suite 301

Beverly Hills, CA 90212

(424) 203-1600

Attorneysfor Plaintz'jjfBa)/ry Hom`g

DAVIS GILLETT l\/IOTTERN & SIMS LLC

s/Jerrv L. Sims

Jerry L. Sims

Promenade ll, Suite 2445
1230 Peachtree Street, NE
Atlanta, Georgia 30309
(770) 481~7207

Attorneys for Defendant Chrz`sz‘opher Drose

Case 1:16-cv-O2432-L|\/||\/| Document 21 Filed 10/31/16 Page 18 of 18

CERTIFICATE OF SERVICE

1 hereby certify that on October 31, 2016, l electronically filed the JOINT
PRELIMINARY REPORT AND DISCOVERY PLAN with the Clerk of Court
using the Cl\/l/ECF system which will automatically send email notification of such
filing to the following attorneys of record:

Christopher Campbell Attorneys for Plaintiff
DLA PIPER LLP (US) Barry Honig

One Atlantic Center

1201 West Peachtree Street, Suite 2800

Atlanta, Georgia 30309~3450

(404) 736-7800

(404) 682~7800 (Fax)

Charles J. Harder Attorneysfor ll’lczz'ntijjf
HARDER l\/llRELL & ABRAl\/IS LLP Barry Hom`g

132 S. Rodeo Dr. Suite 301

Beverly Hills, CA 90212

(424) 203~1600

Jerry L. Sims Attorneys for Defendant
DAVIS GILLETT l\/I()TTERN & Sll\/IS Christopher Drose, d/b/cl Bleeker Street
Promenade ll, Suite 2445 Research

1230 Peachtree Street, NE
Atlanta, Georgia 30309

DLA PIPER LLP (US)

s/Robert D. Weber

Robert D. Weber (admitted pro hac vice)
Perrie M. Weiner (adrnitted pro hac vice)
DLA PIPER LLP (US)

2000 Avenue of the Stars

Suite 400 North Tower

Los Angeles, CA 90067-4704

(310) 595-3000

(310) 595-3300 (Fax)

 

wEs'r\274166653.1 18

